     Case 2:90-cv-00520-KJM-SCR       Document 6666      Filed 05/15/20        Page 1 of 2


 1      XAVIER BECERRA                                Hanson Bridgett LLP
        Attorney General of California                PAUL B. MELLO, State Bar No. 179755
 2      MONICA N. ANDERSON                            SAMANTHA D. WOLFF, State Bar No. 240280
        Senior Assistant Attorney General              425 Market Street, 26th Floor
 3      DAMON MCCLAIN, SBN 209508                      San Francisco, California 94105
        Supervising Deputy Attorney General            Telephone: (415) 777-3200
 4      NASSTARAN RUHPARWAR , SBN 263293               Fax: (415) 541-9366
        Deputy Attorney General                        E-mail: pmello@hansonbridgett.com
 5       455 Golden Gate Avenue, Suite 11000
         San Francisco, CA 94102-7004
 6       Telephone: (415) 510-4435
         Fax: (415) 703-1234
 7       E-mail: nasstaran.ruhparwar@doj.ca.gov
        Attorneys for Defendants
 8

 9                          IN THE UNITED STATES DISTRICT COURTS

10                         FOR THE EASTERN DISTRICT OF CALIFORNIA

11                        AND THE NORTHERN DISTRICT OF CALIFORNIA
12              UNITED STATES DISTRICT COURT COMPOSED OF THREE JUDGES
13                PURSUANT TO SECTION 2284, TITLE 28 UNITED STATES CODE
14
        RALPH COLEMAN, et al.,                        2:90-cv-00520 KJM-DB
15
                                          Plaintiffs, THREE-JUDGE COURT
16
                     v.
17

18      GAVIN NEWSOM, et al.,
19                                      Defendants.
20
        MARCIANO PLATA, et al.,                       C01-1351 JST
21
                                          Plaintiffs, THREE-JUDGE COURT
22
                     v.
23                                                    DEFENDANTS’ MAY 2020 STATUS
                                                      REPORT IN RESPONSE TO FEBRUARY
24      GAVIN NEWSOM, et al.,                         10, 2014 ORDER
25                                      Defendants.
26

27

28

                                                                        Defendants’ May 2020 Status Report
                                                         Case Nos. 2:90-cv-00520 KJM-DB & C01-1351 JST
     Case 2:90-cv-00520-KJM-SCR             Document 6666         Filed 05/15/20       Page 2 of 2


 1              The State submits this status report on the current in-state and out-of-state adult prison
 2     populations and the measures being taken to comply with the Court’s February 10, 2014 Order
 3     Granting in Part and Denying in Part Defendants’ Request for Extension of December 31, 2013
 4     Deadline (February 10, 2014 Order). Exhibit A sets forth the current design bed capacity,
 5     population, and population as a percentage of design bed capacity for each state prison and for all
 6     state prisons combined. Exhibit B sets forth the status of the measures Defendants have
 7     implemented as required by the February 10, 2014 Order. (ECF 2766/5060 at ¶¶ 4-5.)
 8              As of May 13, 2020, 108,850 inmates were housed in the State’s 34 adult institutions and
 9     no inmates1 were housed in out-of-state facilities. (Ex. A. 2) The State’s prison population is
10     approximately 127.9% of design capacity. (Ex. A.)
11

12         Dated: May 15, 2020                                  XAVIER BECERRA
                                                                Attorney General of California
13
                                                                By: /s/ Nasstaran Ruhparwar
14                                                                  NASSTARAN RUHPARWAR
                                                                    Deputy Attorney General
15                                                                 Attorneys for Defendants

16         Dated: May 15, 2020                                  HANSON BRIDGETT LLP

17                                                              By: /s/ Paul B. Mello
                                                                    PAUL B. MELLO
18                                                                 Attorneys for Defendants

19

20

21

22

23

24

25

26
       1
27       This statistic only concerns inmates in out-of-state contract beds and does not include inmates
       housed in other states under interstate compact agreements.
       2
28       The data in Exhibit A is taken from CDCR’s May 13, 2020 weekly population report, available
       on CDCR’s website at https://www.cdcr.ca.gov/research/population-reports-2/.
                                                           1
                                                                                Defendants’ May 2020 Status Report
                                                                 Case Nos. 2:90-cv-00520 KJM-DB & C01-1351 JST
